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 ATTORNEYS FOR VERTICAL BRIDGE REIT, LLC

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                  WICHITA FALLS DIVISION


  IN RE:                                       §   CASE NO.: 24-70089 (SWE)
                                               §
                                               §
                                               §   A Hearing on the Motion of Creditor Vertical Bridge
  HIGH PLAINS RADIO NETWORK,                   §   for Entry of an Order (I) Granting Vertical Bridge
  LLC,                                         §   Relief from the Automatic Stay, or (II) Alternatively,
                                               §   Granting (A) Adequate Protection to Vertical Bridge
                                               §   with Immediate Payment of Its Administrative Claim
                  Debtor.                      §   for Post-Petition Rent and (B) Compelling Immediate
                                               §   Assumption or Rejection of Unexpired Leases of
                                               §   Nonresidential Real Property

                                      NOTICE OF HEARING

 TO ALL PARTIES IN INTEREST:

      This is to inform you that a hearing on the above-referenced Motion has been set for hearing
 on MAY 23, 2024, AT 9:00 A.M., before the Honorable Scott W. Everett.

        The hearing will be conducted via WebEx. The WebEx hearing instructions for the
 Court are shown below.

  For WebEx Video Participation/Attendance:        https://us-courts.webex.com/meet/everett

  For WebEx Telephonic Participation/Attendance:   Dial-In: 1-650-479-3207
                                                   Access code: 476 420 189




 DATED APRIL 30, 2024



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                                              Respectfully submitted,

                                              K&L GATES LLP

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                                              -and-

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                                              Attorneys for Vertical Bridge REIT, LLC




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                                               NOTICE

 PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(b), A RESPONSE IS REQUIRED
 TO THIS MOTION, OR THE ALLEGATIONS IN THE MOTION MAY BE DEEMED
 ADMITTED, AND AN ORDER GRANTING THE RELIEF SOUGHT MAY BE
 ENTERED BY DEFAULT.

 ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK OF THE
 UNITED STATES BANKRUPTCY COURT AT EARLE CABELL FEDERAL BUILDING,
 1100 COMMERCE ST., ROOM 1254, DALLAS, TX 75242-1496 BEFORE CLOSE OF
 BUSINESS ON MAY 14, 2024, WHICH IS AT LEAST 14 DAYS FROM THE DATE OF
 SERVICE HEREOF. A COPY SHALL BE SERVED UPON COUNSEL FOR THE
 MOVING PARTY AND ANY TRUSTEE OR EXAMINER APPOINTED IN THE CASE.
 ANY RESPONSE SHALL INCLUDE A DETAILED AND COMPREHENSIVE
 STATEMENT AS TO HOW THE MOVANT CAN BE “ADEQUATELY PROTECTED”
 IF THE STAY IS TO BE CONTINUED.



                                  CERTIFICATE OF SERVICE

          The undersigned certifies that on April 30, 2024, a true and correct copy of this Notice of

 Hearing was served via ECF. The parties set forth below, the 20 largest unsecured creditors, and

 those parties who have filed notices of appearance and requests for notices were served with this

 Notice of Hearing by First Class United States Mail:

          High Plains Radio Network, LLC                       Debtor’s Counsel
          c/o Monte Lee Spearman, Member                       c/o Jeffery D. Carruth
          P.O. Box 1419                                        Weycer Kaplan Pulaski & Zuber, P.C.
          Vernon, Texas 76384                                  Dallas, Texas 75204-2514

          United States Trustee                                Subchapter V Trustee
          1100 Commerce St., Room 976                          c/o Scott M. Seidel
          Dallas, Texas 75242                                  6505 West Park Blvd., Suite 306
                                                               Plano, Texas 75093
          U.S. Small Business Administration
          10737 Gateway West, Ste. 300
          El Paso, Texas 79935
                                                               /s/ David Weitman
                                                               David Weitman




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